        Case 1:17-cv-03392-VEC-SDA Document 82 Filed 07/16/18 Page 1 of 2



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July 16, 2018                                                                                                        Member of the Firm
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VIA ECF                                                                                                              www.proskauer.com

Hon. Valerie Caproni
United States District Judge
Southern District of New York
40 Foley Square, Room 240
New York, New York 10007

                     Re:         David A. Joffe v. King & Spalding LLP
                                 17 Civ. 3392 (VEC)

Dear Judge Caproni:

This firm represents King & Spalding LLP (“K&S”) in the above-referenced lawsuit. We are
writing on behalf of K&S to provide the Court with K&S’s position with respect to Plaintiff’s
counsel’s motion to withdraw (the “Withdrawal Motion”) (Dkt. Nos. 79-81).

In the Withdrawal Motion, Plaintiff’s counsel correctly notes that the parties had agreed to
jointly request an extension of time to complete expert discovery in this case from August 3,
2018 to September 7, 2018. However, Plaintiff’s counsel omitted the fact that the parties’
understanding presupposed certain interim deadlines; namely, July 10 for the production of main
expert reports and August 10 for the production of rebuttal expert reports. (See Exhibit A.)

The parties were preparing to submit a joint letter to the Court regarding the extension request
when Plaintiff’s counsel advised on June 27 that he intended to seek leave to withdraw and asked
that the case be stayed until August 22. (See Dkt. No. 75.) On June 29, the Court denied
Plaintiff’s counsel request to stay the case pending the resolution of his motion, and set July 6 as
the deadline for the withdrawal motion, which was extended to July 13 at Plaintiff’s counsel’s
request. (See Dkt. Nos. 76-78.)

On July 2, after Plaintiff’s counsel advised in a telephone call that he was unsure whether
Plaintiff would be able to comply with the agreed-upon interim deadlines, we wrote to advise
that K&S intended to serve its expert report on or before July 10 and asked that Plaintiff serve
any expert reports by that date as well to allow for sufficient time to prepare rebuttal reports and
schedule depositions before the August 3 expert discovery deadline. (See Exhibit B.)

On July 10, K&S served a report from its legal ethics expert. Although Plaintiff has indicated
that he intends to serve reports from economic damages and employability experts, he did not
serve any such reports by July 10 and still has not done so to date.

In light of the above, K&S respectfully requests that either (i) the deadline to complete expert
discovery be extended in the event that Plaintiff serves any expert reports in the future; or (ii)


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        Case 1:17-cv-03392-VEC-SDA Document 82 Filed 07/16/18 Page 2 of 2




Plaintiff be precluded from submitting any main expert reports if the Court does not extend the
deadline to complete expert discovery.

Respectfully submitted,

PROSKAUER ROSE LLP

By:      /s/ Joseph Baumgarten
      Joseph Baumgarten
      Pinchos Goldberg

cc:      Andrew M. Moskowitz, Esq. (via ECF)
